Case 5:21-cr-50014-TLB Document 131-4 Filed 01/19/22 Page 1 of 8 PagelD #: 3502

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Case 5:21-cr-50014-TLB Document 131-4 Filed 01/19/22 Page 2 of 8 PagelD #: 3503

 
Case 5:21-cr-50014-TLB Document131-4 Filed 01/19/22 Page 3 of 8 PagelID #: 3504

r 3617 Old Hiny 68
Springdale, AR 72762
Tek 479-287-1518

  
  
 
 
   

Service Advisor. Roger Smith
Technician: Jeff

Date: 11-15-2018 6:12 PM
Estimate; Q001212

Work: 479-200-2681

Joshuaduggar @icloud.com
Alternative Contact: Jost

Miles In: 122,492
Miles Out: 122,492
License Plate: X196 00

 

 

 
Case 5:21-cr-50014-TLB Document 131-4 Filed 01/19/22 Page 4 of 8 PagelD #: 3505

 
Case 5:21-cr-50014-TLB Document 131-4 Filed 01/19/22 Page 5 of 8 PagelD #: 3506

 
Case 5:21-cr-50014-TLB Document 131-4 Filed 01/19/22 Page 6 of 8 PagelD #: 3507

 

 

 
Case 5:21-cr-50014-TLB Document 131-4 Filed 01/19/22 Page 7 of 8 PagelD #: 3508

 
Case 5:21-cr-50014-TLB Document 131-4 Filed 01/19/22 Page 8 of 8 PagelD #: 3509

 
